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                                                                            United States District Court
                                                                              Southern District of Texas

                      UNITED STATES DISTRICT COURT                               ENTERED
                   FOR THE SOUTHERN DISTRICT OF TEXAS                            July 19, 2022
                            HOUSTON DIVISION                                  Nathan Ochsner, Clerk



Rosalie Conner Estate, et al.               §
                                            §
versus                                      §        Civil Action 4:22−cv−02289
                                            §
PHH Mortgage Corporation, et al.            §


                       ORDER STRIKING PLEADING
       Pending before the Court is Motion to Dismiss − #7. The instrument is deficient for
the following reason(s):

           The motion does not comply with the Courts Procedures section 6(E),
           regarding discovery and scheduling disputes.

           The motion does not comply with the Courts Procedures section 6(B),
           regarding pre-motion conferences required for particular motions.

           The motion does not comply with the Courts Procedures section 6(C)(2),
           which requires a certificate of conference for all motions.

           The motion does not comply with the Courts Procedures section 6(C)(3),
           which requires a separate proposed order for all motions except those filed
           under Federal Rule of Civil Procedure 56.


      The Clerk is hereby ORDERED to strike the above instrument(s) from the record
and notify counsel of such action.

      Signed on July 19, 2022, at Houston, Texas.
